                    IS EG HALAL GLOBAL
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                            IS EG Halal Global: 125 River Road, Suite 301 - Edgewater NJ 07020
                            Email: global@iseghalal.com | Tel: +1 202 820 0800 www.iseghalal.com




                                              Export Documentation Checklist
      Note: All the following data must be completed in English and supplied before starting the audit

  Slaughterhouse Name:

  Est. Nº

  Address:

  Country:

  Contact Person:

  Email:


                                    Beef / Lamb/ Mutton Slaughterhouses
                                               Information of the Establishment

Number Of Hours/ Working days.                                         Hour/ day

Number of working days per week.                                       Days/week

How many Shifts/ Day                                                   Shift/ Day

                                                     Inspection Services

Number of official Veterinary officers

Number of Quality Inspectors

                                                         Production

Number of Corrals                                                   Corrals/        corral of observation and isolation

Total Corral capacity                                                 Animals

Slaughter Rate (Daily)                                                Animals/Day

Number of cooling Chambers Carcasses                                  Chambers

Capacity of the carcasses chilling Chambers                           Carcass

Boning Room Capacity / Day                                            Tons

Average weight of animal                                               kg

Total production / month (frozen boneless beef meat)                   Tons/Month                        N/A

Total production / month (frozen Lamb/Mutton meat)                     Ton/Month                         N/A



                                                                                                           DEF. EXH

                                                                                                         Hana - 032
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                                                   Capacity of the Storage

Number of storage chamber for Chilled meat                              Chamber

Chilled meat products storage total capacity                            Tons

Number of storage chamber for Chilled offals                            Green offals                  red Offals

Total Capacity of chilled offals                                        Tons/Green Offals             Tons/Red Offals

Frozen Product storage                                                  Inside the facility          outside the facility

Number of storage chamber for Frozen Products                           Chambers

Frozen products storage total capacity                                   Tons                        Carton Box

Number of Static freezing tunnels                                        Tunnels

Freezing Tunnels                                                        Inside the facility          outside the facility

Total Capacity of static freezing tunnels                                Tons                        Carton Box

Number of Dynamic freezing tunnels                                       Tunnel

Total Capacity of Dynamic freezing tunnels                                Tons                       Carton Box

List of Countries you export to



Authorized Representative Signature
       Name                                                           Position

                                                                       Date
     Signature


       Stamp
